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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

WESTERN DIVISON
MITCHELL W. KIRKSEY )
)
Plaintiff, ) No. 19 CV 503802
Vs. )
) Judge Iain D. Johnston
SERGEANT KRAMER, )
) Magistrate Judge Lisa A. Jensen
Defendant. )

DEFENDANT KRAMER’S ANSWER AND AFFIRMATIVE
DEFENSES TO AMENDED COMPLAINT

Sergeant Daniel Kramer, by his attorneys, Patrick D. Kenneally, McHenry
County State’s Attorney, and his Assistant State’s Attorneys, George M. Hoffman
and Jana Blake Dickson, for his Answer and Affirmative Defenses to the plaintiffs
Amended Complaint states as follows:

COMPLAINT:
I Plaintiff(s):
Name: Mitchell W. Kirksey
List of aliases: N/A
Prisoner Identification Number: R52062

Place of present confinement: Jacksonville CC
Address: 2268 East Morton Ave. Jacksonville, IL 62650

BOQ

ANSWER:
Defendant admits that the plaintiff is Mitchell W. Kirksey, but is without
knowledge or information sufficient to form a belief as to the truth or falsity of the

remaining allegations of paragraph I.
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COMPLAINT:
II. Defendant(s):
Defendant: Sergeant Kramer
Title: Sergeant
Place of Employment: McHenry County Sheriffs
ANSWER:

Defendant admits the allegations of paragraph II.

COMPLAINT:

III.

ANSWER:

List ALL lawsuits you (and your co-plaintiffs, if any) have filed in any
state or federal court in the United States:

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Name of case and docket number: N/A

Approximate date of filing lawsuit: N/A

List of all plaintiffs (f you had co-plaintiffs), including any
aliases: N/A

List of defendants: N/A

Court in which the lawsuit was filed Gf federal court, name the
district; if state court, name the county): N/A

Name of judge to whom case was assigned: N/A

Basic claim made: N/A

Disposition of this case (for example: Was the case dismissed?
Was it appealed? Is it still pending? N/A

Approximate date of disposition: N/A

Defendant is without knowledge or information sufficient to form a belief as

to the truth or falsity of the allegations of paragraph III, including subparagraphs

A-I.
COMPLAINT:
IV.

1.

Statement of Claim

This Complaint is under the Civil Rights Act; 42 USC 19838
against state and county defendants.
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ANSWER:

Defendant admits that plaintiff purports to state a claim under 42 U.S.C. §
1983 and denies the remaining allegations of paragraph 1.

2. The Civil Rights violations being addressed herein occurred

while plaintiff was being taken into custody by the McHenry County

Sheriffs Office and agents associated with its jurisdiction.

ANSWER:

Defendant admits that plaintiff was arrested and taken into custody by
officers of the McHenry County Sheriffs Office and denies the remaining allegations
of paragraph 2.

3. On July 20, 2018, Commander Brian Baker (N.I.P.A.S), while

acting in his official capacity, showed callous indifference for plaintiffs

state and federal constitutional rights that extend to equal protection
under the color of the law.
ANSWER:

Defendant denies the allegations of paragraph 3.

4. Baker supervised a group of McHenry County Sheriffs deputies

and detectives on the foregoing date that deliberately violated

plaintiffs constitutional rights by the direct use of excessive force
while apprehending and arresting plaintiff.
ANSWER:

Defendant denies the allegations of paragraph 4.

5. Baker witnessed and failed to intervene when Defendant

Sergeant Kramer inflicted cruel and unusual punishment on plaintiff

when he tased plaintiff with a taser gun after he (plaintiff) was already

in handcuffs, subdued and restrained.

ANSWER:

Defendant denies the allegations of paragraph 5.
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6. This act was in itself a callous display that violated plaintiffs
constitutional rights.

ANSWER:
Defendant denies the allegations of paragraph 6.

7. On July 20, at approximately 5:45 am, plaintiff was at his
residence when ten or more McHenry County Sheriffs beat on his door.

ANSWER:

Defendant admits that on the morning of July 20, 2018, several law
enforcement officers, including defendant, arrived at plaintiffs residence to
arrest him. Defendant denies the remaining allegations of paragraph 7

8. Plaintiffs sister, Melissa Kirksey, opened the door at which time

several sheriffs deputies came barging into the residence without
permission.

ANSWER:
Defendant admits that his sister, Melissa Kirksey opened the door and
denies the remaining allegations of paragraph 8.

9. The deputies claimed to have a warrant for plaintiffs arrest,
and began methodically searching the house from room to room.

ANSWER:
Defendant admits the allegations of paragraph 9.
10. Melissa Kirksey told deputies to stop searching the home if they
did not have a search warrant, at which time defendant sergeant
Kramer told Ms. Kirksey to, “Shut your fucking mouth!”

ANSWER:

Defendant denies the allegations of paragraph 10.
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11. Defendant Kramer then led several deputies to the basement.

Defendant Kramer loudly announce that “they” (presumably him and

the deputies with him) “beat the shit” out of the plaintiff when they

found him.
ANSWER:

Defendant admits that after plaintiff refused to come out of the basement and
after a police canine had gone into the basement to locate plaintiff, defendant led
several deputies down the stairs to the basement. Defendant denies the remaining

allegations of paragraph 11.

12. Deputies then began ransacking the area and destroying the
property while carrying out their search.

ANSWER:
Defendant denies the allegations of paragraph 12.

13. They flipped over a television, a couch and bed as they stomped
on property, appliances and furniture with reckless disregard.

ANSWER:

Defendant admits that officers had to move several items of furniture and
junk under which plaintiff had concealed himself. Defendant denies the remaining
allegations of paragraph 13.

14. When defendant Kramer and the others located plaintiff he put
his hands in the air and did not resist in any way.

ANSWER:
Defendant denies the allegations of paragraph 14.

15. Plaintiff was secured and in handcuffs when defendant sergeant
Kramer pulled his Taser and fired it point blank at plaintiff.
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ANSWER:
Defendant denies the allegations of paragraph 15.

16. Plaintiff fell to the ground in extreme pain and distress, striking
his head and injuring it in the process.

ANSWER:
Defendant denies the allegations of paragraph 16.

17. Plaintiffs three-year-old daughter was traumatized when she
witnessed this event.

ANSWER:
Defendant denies the allegations of paragraph 17.

18. Plaintiff was then roughly thrown into a squad car with no
medical attention whatsoever.

ANSWER:
Defendant denies the allegations of paragraph 18.
19. Defendant sergeant Kramer refused to allow Melissa Kirksey to
remove plaintiffs daughter from the scene, so she was forced to
witness these brutal events and suffer the trauma of it.

ANSWER:
Defendant denies the allegations of paragraph 19.
20. Plaintiffs daughter has been emotionally impacted and
traumatized by the defendant’s actions, and continues to have trouble
sleeping because she has nightmares and fears that a squad of police
will again force their way violently into her home.

ANSWER:
Defendant denies the allegations of paragraph 20.

21. Defendant sergeant Kramer also filed two fraudulent charges
against the plaintiff, namely obstructing a peace officer and resisting a
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peace officer on July 20, 2018, presumably as an attempt to justify the
unlawful use of the taser against the plaintiff.

ANSWER:

Defendant admits that he filed a complaint against plaintiff for
obstructing a peace officer and resisting a peace officer on July 20, 2018, and
denies the remaining allegations of paragraph 21.

22. Both of these fraudulent charges were dismissed on January 17, 2019.
ANSWER:

Defendant admits that on January 17, 2019, both of the foregoing charges
were nolle prossed as a part of a plea agreement under which plaintiff pleaded
guilty of aggravated possession of a firearm for which he was sentenced to eight
years in the Illinois Department of Corrections. Defendant denies the remaining
allegations of paragraph 22.

23. This concludes plaintiffs 42 USC 1983 Civil Complaint.

ANSWER:

Defendant admits the allegations of paragraph 23.
COMPLAINT:

V. Relief

24. Issue an order declaring that the defendant’s actions violated
plaintiffs rights under the United States Constitution

25. Award plaintiff $200,000.00 in compensatory damages.

26. Any other relief this court deems equitable and just.
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ANSWER TO PRAYER FOR RELIEF:
Defendant denies that plaintiff is entitled to any relief.
FIRST AFFIRMATIVE DEFENSE

Defendant cannot be liable to plaintiff because at all times they acted within
the scope of his discretionary authority and did not violate any clearly established
statutory or constitutional rights of which a reasonable person would have known,
thereby entitling him to qualified immunity from suit and damages.

SECOND AFFIRMATIVE DEFENSE

The plaintiff concealed himself in the basement where he was living and
refused to come out with his hands up when ordered. Defendant’s use of force under
the circumstances of this case was reasonably necessary to effect plaintiffs arrest,
thereby barring any and all claims and injuries allegedly based on defendant’s use
of force.

WHEREFORE, defendant Daniel Kramer requests this Court to enter
judgment in his favor and against the plaintiff and for such other and further relief
as the Court deems appropriate.

Sergeant Daniel Kramer

By: /s/ George M. Hoffman
One of his Attorneys
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Patrick D. Kenneally

McHenry County State’s Attorney
George M. Hoffman (ARDC No. 6180738)
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CERTIFICATE OF SERVICE

 

The undersigned attorney, George M. Hoffman, hereby certifies that a copy of
Defendant Kramer’s Answer and Affirmative Defenses to Amended
Complaint was served on

Mitchell Kirksey

Jacksonville Correctional Center
R-52062

2268 E. Morton Ave.
Jacksonville, IL 62650

by depositing a copy in the U.S. Mail located at 2200 N. Seminary Avenue,
Woodstock, Illinois, First-Class postage prepaid, on January 22, 2021.

/s/ George M. Hoffman
